          Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 1 of 11 PageID #:1           fWtW



                              TJIYITED STATES I}ISTRICT COURT
                              NORTIMRN DISTRICT CIF ILLINOTS
                                                                         RECEIVED
                                                                            AU0 2 6 z0tgr,r

    *L*-t* oN-. N "q$($"s                                             .o*'[t'-$8f*SSro


 (Enter above the fuli name
 of the plaintifforplaintiffs in
 this action)
                                             1:19-cv{r5729
                                             Judge Andrea R Wood
                                             Judge t. David Welsman
                                              PC5
"   ve\qze, o\sA f rccmfl_e-_S*,

    Dr,rnlu-
5"**- f'"\ o\der x"hn.*
    b.u,    .. q0C  .g:s ----       ...
(Enter above the full nartre of ALL
defendants in this action Do not
usettgt alrtt)

CIIECI( ONE OITLY;
      /
    V          coMpLATNTIJNDERTHECwILRTcHTsACT,TITLE42sEcTIoNIgSt
               U.S, Code (state, county, or municipal deferdants)

               COMPLAINT IINDER TIIE CONSTITUTION ("BwENS" ACTION), TITLE
               28 SECTION 1331 U.S. Codc (federal defendants)

               0TIIER (cite statute, if known)

BEFOng FILLING OAr THIS COMPLATNT, PLEASE REFER TO "INSTRUCTIONS FOR
FILTNG.T TOLLOW ruTESE INSTRACTTONS CARETALLY
      Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 2 of 11 PageID #:2




T.      Plaintiff(s):

        A.      Nar

        B.      List

                Prisoner identification n

        D.      Place of present confi

        E.

        (lf there                 plaintiff, then each plaintiff must list his or her name, aliases, l.D.
                    is more than one
        number, place of confinement, and current address according to the above format on a
        separate sheet of paper.)

II.     Defendant(s):
        (ln A below, place the full name of the first defendant in the first blank, his or her official
        position in the second blank, and his or her place of employment in the third blank. Space
        for two additional defendants is provided in B and C.)

        A.      Defendant:

                ritte'           OStcq'C


        B.

                Title:                 f\qCs€-
                    Place of,   Emolovment:     0- o t>   \(    LorrvlV,t     TW1   \
        C.          Defendant:      bl r.   rd .r
                Title:              bssloV-
                    Place of    Employment: Lc)(f\A             C
                                                                              -s,..i\
                                                                    ^.rn+qI


        (lf you have more than three defendants, then all additional defendants must be listed
        according to the above format on a separate sheet of paper.)




                                                          2eh                                 Revised 9/2007
Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 3 of 11 PageID #:3
         Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 4 of 11 PageID #:4




 III.    tist ALL lawsuits  you (and your co-plaintiffs, if any) hnve filed iu any state or federal
         court in the United Stst*sl

         A.     Name of case and       docketnumber: .Nra. \ q           gc 2 t\ ( c{ .   (l.l<*.dh{.r.> \E
                                                                                                                 -5\.r'k
                                                                                                                           .{ .m*
                 atri ndi a

         B.     Approximate date of filiag lawsuit:               q-t0
                                                             "-
                List atl plaintiffs (if you had co-plaintiffs), ineluding any aliases:
                  L qnlorrY     r   rr?-rsl,iru?;-{




        D.      List all defendauts:              \c.,,otr



        E.      Court in which the lawsuit was filed {iffederal court name the dlshict; ifstate court,
                nam6 the  county): S\ir.cc> t-crrr\" .,C c-\ r^ttrus

        F.     Name ofjudge to whorn case wa$ assigned:



        G.     Basic claim    made: f\u:t-\.qri1rL



        H.     Disposition of this case (for example; Was the case dismissed? Was it appealed?
               Is it still pending?):        S.t{\ ?en&iQS                         -



        i.     Approximate date of disposition:


rT YOU HAYE     FILID MORE TIIAN LAWSUIT, TIIEN YOU MUST DESCRIBE TTIE
                                               OI\TE
aIIIIITIONAL LAWSUITS ON   ANOTTTER prECE Or pApE& U$rNc TrIrS SAME
TORMAT. REGANDLESS OX'HOW MAI\TY CASES YOU HAYE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSUD T'ROM FII,LING OUT TIIIS SECTION CONMLETELY,
ANI} FAILTJRE TO DO SO MAY RtrSULT IN DISMISSAL OT YOUR CASE. CO-
PLAXNTIF'FS MUST ALSO LIST ALL CASES TTIEY IIAIiE FILED.




                                                                                               Ecvissd 9/tr00?
       Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 5 of 11 PageID #:5




I.     Phiutiff(s):

       A.     Name: Lct(fro^                       13ac"1lr€f-s
       B.     List all aliases:

       C.     Prisoner identification    number: Y '3L                  5 B \e
       D.     Place of present    confinement:           a '\i e-t \ caqtcncotV kn\<l'
       E.     Address;

      flf there is more than one plaintifl then each plaintiffmust list his or hername, aliases,I.D.
      nurnber, place of confinement, and cuxrent adfuass eccording to the above forrrat on a
      separaie sheet of paper.)

II.   Defendaut(s):
      (Itr A below, place the full narne of the fust defendant in the first blark, his or her official
      position in the second bl&rk, and his or her place of emplolment in the third blank Space
      for two additional defendants is provided in B and C.)

      A.      Defendanr: __C_o\oTt

              Titte:       O+A        c€rr
              Place of   Employment          0e    c:K-. L
                                                               '
                                                                   q\       T    ql   \
      B.      Defendant C.,\l b               P


             riue:    ,, -    t"rQRc*f            --   -.---

             Place of    Employm.nt.              \ " oVL t- o\r,n+( 1..\ I
                                                                            L

      C.     Defendant:               V e-\   a-z +-
             Title:               o   Cltcn r-
             Place of Employment:                 0 ooVL           C-ourt   {-   -5   .^',   \
      (If you have more than three defendants, then all additional defendants must hE listed
      according to the above format on a separate sheet of paper.)




                                                       ah                                        Ecvised 9/100?
      Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 6 of 11 PageID #:6




IV.     Statement of Claim:    e   q   L
        State here as briefly as possible the facts of your case. Describe how each defendant is
        involved, including names, dates, and places. Do not give any legal arguments or cite any
        cases or statutes. If you intend to allege a number of related claims, number and set forth
        each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
        if   necessary.)




                                                                                       ilf-n
                                                                                     Ne-Yt Parg9
                                                                                        llevised 9/2007
                Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 7 of 11 PageID #:7




                                                                           \J
        ii <J*"fr*\                \r o r,,   r.,'t oAL crroc,J I
                                                             JJ         '^^'Lc',q,ot
        ; '{-1n< C-ru{zhnS +r" hola
            |    .l
                                                            < t\$
                                                                             vl
                                                                                       a65 I   o,,lL {-D
                                  \I
                 wa, or{ A;.r:<.:".n            'r,aoodrt^y-q,A-S   L€crs .'f[!u"rr- Eae-bl&



                                               l,^+) o', [. t.,f ^c'l-
                                                      o*\   Ha,]tqi^sc,".n
                                                                                                           -
        , r.\A br, ros. hu-I to\& i* L.,, n^ or-[ ih,.{ he ce q,'"it-
                                                                 \
        i ]c        -s+rc c;nncffror b., dcr LPcculs<- \<- rpas eint\ i n
                naior o^& qi-retn Yui\ o€gr;[-"& ma&r."L"n . S"f
        <J ---r--              .
                                     !}r\.cL1 rna&.e !.,,s Aecis*oH c*J
                ,!"*"t-o.^\& \m[ cc'*a& qn(tA{. *\so th,,,f tprrr+'tn<r--.
                Lo.r\\ c^o tc,clC \. hr_s ,^^l+ olt on+ dcu*d L,,_nH,
                t-r.',$"uJ.< \qi& ru\ \\"a fi.-^r ,'5o\ do-.$no




        LrI-..S *[Fl,'*r<               Cr.u,^ s.S          \       J
                                                                                  Y"tk[-*-^t!M-
                                                                                   \


                                                                           (.a rz
                                                                                  ^.*r.\
        I



        I       er,rr Cuvlnef Ct


-- -      [x)ecr\hr(
       - 'n
        li
        i




            l
                 Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 8 of 11 PageID #:8
                                                            c\olon t3ts

                 l-"^tr<r     U;t     €xlcnrrr<. h& 'urqs c^\\e-rL
                 r^>V,,-rn     si*A<-l **            \>c,ta    cI d\A na\- orde,r 4,n.1
                 nneA,'.c-o&icrn t-ov- h,v-.n                 \ht .*.ho r ^q.[c\ \)oi,-ra.-
                                                     "^t
                 !.r'
                                re
                   r^r, ? re r,.,L\ n.v- \rtr\^p-rrols f+l. fror,b ,
                 S.z* iL f\^").<,6 '\ro o.Aer ocesc,rrbei fneAs bclJ
                                                              t
                 o,Glfe         Snp,c-,"crh<+r. \,r:<.a{h   <-rb   ner;




            F""tx \-" ?\k {. secatecc.\ion ul^rt as 'otrv'rrsh*na#
            .g. carrA t r sc,\-
            re              l\J*,-\"o.1J *l.,rq.h h<- \t-rn.trs Lo*
                                                      ),..
        re\\i cA-cyn '{rcr- cornn\r.rif
            ,

       il.t ""^-r^t Ln ht.-t=of.u,\".Fcit \t^o \*r[. c,ln eo\'o,n
       Lawu l*- e-rc-.,A L.,rn r {c seore,ecsHon Cn.lnithnno,nl-\ t'r,i]
       m;-                    ureof,inoi.s tA o uL,v."^ o1&
        cs.AC^zs . c/o coLotr .<+,- [" A h4- , ,.clr\A ,vtoS .^r c.' u d-        Q

                                                                                                 U!g&--

       .i        \r.rl    \o
                  -l-l-.ar.,J r^rerr\L
                                       d- hr!-#s*r                 -ts$*<-1--o.n
                                                                                     & c$',N-
__-          ,         o- tecn\ ceqssn- f,-,- hS\
                 r.r.rerr\h.a-c-:-                                 Dune----
        l
                                                   -o-0-l{r$aks--.
          ,lrz, c1o c.\o^ \,t., ed=-- rr:<-eA*osrs--erSkrL$oc-edsls
      .__:_l___


      -*
                 i^     whld^ -ba---s-4\,L-unsls\s\ -\\er*\\h +"d"s-*.f-${-
            -    Breuonh--uqd-}"V\J!r" -e[\- S*--eio qsre=,*-1.-qq\an -S*p"Ed-
        ii

                    t  ,A^\rn    i,rsec.\h{,rS-
                                                -_C"-^LlAUt"t.ts
                                                                 q^i b,e*-*&
        ,iuesek s"t-64&-mwSse.&sM-his                                                        -
-         hl a &i*s -cl"iXtlbc--Y,crre.\42-a..'',*qna e/o r nc,Ymrn&-. &jx'n*L
                           (aox o Dne)f{x^-Qe\!'nq-,r-
      --l @
      Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 9 of 11 PageID #:9
                                            c-\crs.m
                                                                 mq
      CIo       e\"-.V'e          "', r)r\ct.?4-       *.-,..1*)..-f   rs<-,rlanpys   crr-tk)oeL
                             I
      (\r,..ra rs\',\e- j                -. o.*JtP*\un
                                       cr,   ymrvtur      *.r\\<.,tr u)-t- cr+h<,r5
      -7r\
      nn nL  $ncr.-..- L'..n^ A r'-rn i n & to\\i,r.e- glnrr
                                                     ,, l             \
      L =\ln n rr r/r/r,s a r n t rr,a[ qA^s \- c.& }# $n e- c]o q\ r
      ar.A hlCxrn[q,r-Cf,,* W,"n in *\rr-s {or{tlre- oosirrrr:n
                                                          |
                                                                     CrrtrSrn\-
                         '-)                                               '--/
      p-.tc€r rrir,Nirxr X^     or.o\ Lu{*tru       h\e.,A -Gnoo o.'.&
       T--J                                    "SC
       OukE clL \n*i,*-) A.r.e t{= ,^.;t' *p= bei-e c\.,^oek qs
                                                                                                   -
      *io\k trr-s {t o d c,rrn c.,o avuJ oGf; tu- i ^.*oo.\\- \.i.,.'* ^"
                        *tlo
      il a-.,f;.* , cJ*rrt - -$.,*eA sLo
      J.*...,-( q,s          LrnecA*nors sqit.eo{
                                                            ^eA
                                                                   ..,,+ 'i.^   -iin . S{ue,Iql
                                                                                 \
       l,r ,rtri^ r,yl[*.-   cr   rno\ ,3.\s. ( s*+,..lbs<s\           1sr:fQ-   s>*sn"S or*A
                                             \-Jt
      -The.r cd\e a\\ Gn                     Q-a.rnnPra c"r-\   rr-rr\ cr\ c.bgsq 'r nc1\a\--
            )
      l^oiltt^n s irsrr-\ *\t^ch {-kq^                      \o    Sze-re.e.p<*r-vr    t-n   ,}f
      rr.r\^o-re-      ho                     \oot*U-
                             \-r.rr,a. ir\trr^:ro,h, <>t^  ir,n ct c.et[
                                                 \
       u-J& ^. y, o+4\or' j tnn^r,\* ,.oht-rryr hc. A *Ih" t"{A*n^ buoK,
      rr             1-q( A.ni.A a.art ',*o-tri.o\ {-r".trrrrorrt .J
           p-o*lAo-tts
      ns. rr f?nic-r p<\ n*sc".L-I *rt."rr*o^ Ucr e,CF<l{a S.np"l.\}o[--*
                                                                  \




A\, 9".F c, e,\a r r -r-( !.,ein c .*.r* A \.., \ern r^&..llAlr".\ - .,nJ
      \ \). -J                .>)
    .R ci.;\ tsog,r..Vr €o €,\c€:S?ue Q-ca- o.-& S*J.tce-
      Ln   .,   nC SA,eclr
  i
      i-         \
  I




  I
Case: 1:19-cv-05729 Document #: t1 o,'
                                   Filed: 08/26/19 Page 10 of 11 PageID #:10




                    B Je,:,
                     ,4


                      -

                      )
Case: 1:19-cv-05729 Document #: 1 Filed: 08/26/19 Page 11 of 11 PageID #:11
